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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:16CR187
                                              )
TEARA LYNNE VORIS,                            )                  ORDER
                                              )
                    Defendant.                )




       Before the court is the defendant’s Unopposed Motion to Continue [52] the
previously scheduled evidentiary hearing. The government has no objection. Good
cause being shown, the motion will be granted and the hearing on the Motion to
Suppress [38] will be continued.

      IT IS ORDERED:

      1.     That the defendant’s Unopposed Motion to Continue Hearing [52] is
granted; and

       2.   That the evidentiary hearing on the Motion to Suppress [38] is continued
to January 26, 2017 at 9:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom
No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
Nebraska.

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.


      DATED this 8th day of December, 2016.


                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
